Case 1:22-cv-01479-DG-SJB Document 16 Filed 03/21/22 Page 1 of 9 PageID #: 5516




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF NEW YORK


  KATHY DREW KING,
  Regional Director of Region 29
  Of the National Labor Relations
  Board for and on behalf of the
  National Labor Relations Board,                     Case No.: 1:22-cv-01479-DG-SJB

                         Petitioner,

         v.

  AMAZON.COM SERVICES LLC,

                         Respondent.


  ANSWER AND DEFENSES OF RESPONDENT AMAZON.COM SERVICES LLC TO
   PETITIONER’S PETITION FOR TEMPORARY INJUNCTION UNDER SECTION
             10(J) OF THE NATIONAL LABOR RELATIONS ACT

        Respondent Amazon.com Services LLC (“Amazon” or “Respondent”), through its

 undersigned counsel, hereby answers the Petition for Temporary Injunction Under Section 10(j)

 of the National Labor Relations Act (the “Petition”).

        Amazon denies that it has engaged in any acts or conduct in violation of the National

 Labor Relations Act (“NLRA” or the “Act”), including without limitation those before the

 National Labor Relations Board (“the Board”) on the December 22, 2020 Complaint and Notice

 of Hearing of the General Counsel of the Board in Case No. 29-CA-261755, and further denies

 that Petitioner is entitled to any type of remedy or relief requested in the introductory paragraph

 of the Petition. By way of further answer, 23 months after Mr. Bryson’s termination for his vile,

 offensive, and disparaging verbal attack on a female co-worker, Petitioner has now filed this

 untimely Petition for two illegitimate purposes: (1) to try to circumvent the legal standard that

 ALJ Green has held will apply to his consideration of Gerald Bryson’s egregious workplace



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Case 1:22-cv-01479-DG-SJB Document 16 Filed 03/21/22 Page 2 of 9 PageID #: 5517




 misconduct in the fully-briefed underlying proceeding and (2) to abuse the Board’s statutory

 authority and the auspices of this Honorable Court to improperly influence the outcome of a

 union representation election scheduled to take place at Respondent’s JFK8 facility in Staten

 Island, New York, beginning just four days from now between March 25-26, 28-30, 2022.

           Amazon further answers the allegations set forth in the numbered paragraphs of the

 Petition, as follows:

           1.     Admitted.

           2.     The allegations of paragraph 2 are conclusions of law to which no responsive

 pleading is required.

           3.     Except as to the date of filing – June 17, 2020 – which is admitted, the allegations

 of paragraph 3 of the Petition purport to characterize a writing that speaks for itself and to which

 no responsive pleading is required. Insofar as the characterization of that writing misstates any

 of the writing or takes statements in that writing out of context, said allegations are expressly

 denied.

           4.     Except as to the date of issuance by Petitioner – December 22, 2020 – which is

 admitted, the allegations of paragraph 3 of the Petition purport to characterize a writing that

 speaks for itself and to which no responsive pleading is required. Insofar as the characterization

 of that writing misstates any of the writing or takes statements in that writing out of context, said

 allegations are expressly denied.

           5.     (a) Admitted.

                  (b) Admitted.

           6.     Denied. To the contrary, Respondent terminated Bryson’s employment, and

 declined to reinstate him, because of his vile, offensive, and disparaging verbal attack on a




                                                    2
Case 1:22-cv-01479-DG-SJB Document 16 Filed 03/21/22 Page 3 of 9 PageID #: 5518




 female co-worker that no employer ever would—or should—tolerate or accept in a civilized

 workplace.

                (a) Admitted.

                (b) Admitted.

                (c) Admitted.

                (d) Admitted.

                (e) Denied as stated. Respondent admits only that on or about March 25, 2020,

 during Respondent’s morning managers meeting, Bryson engaged in protected concerted activity

 by advocating, with a group of coworkers, for greater COVID-19 protections and by raising

 concerns about potential COVID-19 exposure. The remaining allegations of this paragraph are

 denied. By way of further answer, Bryson’s protected concerted activity did not immunize him

 from discipline, up to and including termination of employment, for his vile, offensive, and

 disparaging verbal attack on a female co-worker that no employer ever would—or should—

 tolerate or accept in a civilized workplace.

                (f) Admitted. By way of further answer, Bryson’s protected concerted activity did

 not immunize him from discipline, up to and including termination of employment, for engaging

 in his vile, offensive, and disparaging verbal attack on a female co-worker that no employer ever

 would—or should—tolerate or accept in a civilized workplace.

                (g) Admitted. By way of further answer, the United States Supreme Court has

 long held that advocacy such as Bryson’s cannot immunize him from discipline, up to and

 including termination of employment, for engaging in misconduct like his vile, offensive, and

 disparaging verbal attack on a female co-worker that no employer ever would—or should—

 tolerate or accept in a civilized workplace. See NLRB v. Burnup & Sims, 379 U.S. 21 (1964).




                                                 3
Case 1:22-cv-01479-DG-SJB Document 16 Filed 03/21/22 Page 4 of 9 PageID #: 5519




                (h) Admitted. By way of further answer, Amazon avers that its suspension of

 Bryson was a non-disciplinary, procedural action taken in connection with its investigation into

 his misconduct on April 6, 2020.

                (i) Admitted. By way of further answer, Respondent terminated Bryson’s

 employment because of his vile, offensive, and disparaging verbal attack on a female co-worker

 that no employer ever would—or should—tolerate or accept in a civilized workplace.

                (j) Admitted. By way of further answer, Respondent declined to reinstate Bryson

 because of his vile, offensive, and disparaging verbal attack on a female co-worker that no

 employer ever would—or should—tolerate or accept in a civilized workplace.

                (k) Denied. By way of further answer, after a full administrative hearing taking

 place over 16 hearing days, and as submitted to National Labor Relations Board (“NLRB”)

 Administrative Law Judge Benjamin Green (“ALJ Green”) in its post-hearing brief filed on

 March 4, 2022, Amazon terminated Bryson’s employment because of his vile, offensive, and

 disparaging verbal attack on a female co-worker, a legitimate and lawful reason.

                (l) The allegations of paragraph 6(l) of the Petition are conclusions of law to

 which no responsive pleading is required. By way of further answer, Section 7 of the National

 Labor Relations Act does not require any employer to tolerate or accept Bryson’s vile, offensive,

 and disparaging verbal attack on a female co-worker.

                (m) The allegations of paragraph 6(m) are conclusions of law to which no

 responsive pleading is required. To the extent an answer is required, Respondent denies the

 allegations contained in paragraph 6(m).

        7.      (a) Denied. The allegation of paragraph 7(a) is vague insofar as it fails to identify

 what the “public face of the organizing movement” means, but there is no evidence of record—




                                                  4
Case 1:22-cv-01479-DG-SJB Document 16 Filed 03/21/22 Page 5 of 9 PageID #: 5520




 or otherwise—that supports the allegations of paragraph 7(a) and, therefore, Respondent denies

 said allegations.

                (b) Admitted in part, denied in part. By way of further answer, the Amazon Labor

 Union (Union) did not exist at the time of Bryson’s termination and, to the best of Amazon’s

 knowledge, it was not formed until April 2021, a full year after his termination. As to whether

 “the Amazon Labor Union (Union), and certain employees, including Bryson, have engaged in

 protected union activity,” Amazon expressly denies all other allegations contained in this

 paragraph 7(b) and further states Amazon does not have knowledge of every activity conducted

 by the Union and certain Employees.

                (c) Admitted in part, denied in part. Respondent admits that the Union filed a

 petition for a representation election in Case No. 29-RC-285057 on October 25, 2021, and that

 the petition speaks for itself. Respondent is without knowledge or information sufficient to form

 a belief as to why the Union withdrew that petition and, therefore, denies that allegation.

                (d) Admitted.

        8.      Denied. By way of further answer, the Union, which is not a party to this action

 or the underlying unfair labor practice trial, has been conducting—and will continue to

 conduct—a robust union organizing campaign leading up to the representation election

 scheduled to begin on March 25, 2022. Moreover, there is no competent evidence in the

 administrative record or in the non-record affidavits (which are rife with hearsay) submitted by

 Petitioner to support the contention that Bryson’s termination from employment in April 2020—

 23 months ago, and 12 months before the Union existed—has had any negative influence on the

 JFK8 associates’ organizing efforts. This untimely Petition is nothing more than an openly

 acknowledged attempt by Petitioner to improperly influence the outcome of this week’s

 representation election in the favor of the Union.

                                                  5
Case 1:22-cv-01479-DG-SJB Document 16 Filed 03/21/22 Page 6 of 9 PageID #: 5521




         9.       The allegations of paragraph 9 of the Petition are conclusions of law to which no

 responsive pleading is required. By way of further answer, there is nothing just, proper or

 appropriate about the requested relief sought herein. To the contrary, this Petition violates

 Petitioner’s statutory obligations of neutrality in representation elections.

         10.      Denied. To the contrary, Petitioner has fully-litigated this cause, including the

 submission of post-hearing briefs, before ALJ Green, who is currently considering Petitioner’s

 Complaint. By way of further answer, ALJ Green previously expressly rejected the legal theory

 on which Petitioner’s bases its claim for relief herein and determined that much of the evidence

 on which Petitioner relies herein was “useless.” Therefore, it appears not only that Petitioner

 cannot demonstrate the requisite reasonable cause to believe that the National Labor Relations

 Act has been violated, but also that Petitioner is improperly using this Petition to bypass ALJ

 Green’s prior holdings in an improper effort to influence in the Union’s favor the upcoming

 Representation election.

         Any factual allegations not specifically addressed in the foregoing paragraphs are denied.

                                          SEPARATE DEFENSES1

         1.       Petitioner’s Petition fails to state a claim upon which relief can be granted.

         2.       Petitioner’s Petition fails to adequately allege, under the legal standard adopted by

 ALJ Green, that there is reasonable cause to believe that Respondent has violated the Act.

         3.       Petitioner’s Petition fails to adequately allege, even under the legal standard

 advanced by Petitioner and rejected by ALJ Green, that there is reasonable cause to believe that

 Respondent has violated the Act.




 1 Amazon includes all defenses below. By doing so, it does not intend to shift any burden of proof from Petitioner,
 which bears the burden of proving its claims.

                                                          6
Case 1:22-cv-01479-DG-SJB Document 16 Filed 03/21/22 Page 7 of 9 PageID #: 5522




        4.      Petitioner’s Petition fails to adequately allege that the relief sought herein is “just

 and proper” in that such relief is not necessary to prevent irreparable harm or to preserve the

 status quo.

        5.      Petitioner’s Petition fails to adequately allege that the relief sought herein is “just

 and proper” because at the time of Bryson’s termination, there was no union organizing activity

 at JFK8.

        6.      Petitioner’s Petition fails to adequately allege that the relief sought herein is “just

 and proper” because since the time of Bryson’s termination, the Union has engaged, and

 continues to engage in, a robust organizing campaign at JFK8 and other Amazon facilities, as

 established by the upcoming representation election at JFK8 and its sister facility, LDJ5, where

 an election is scheduled to take place on April 25, 27-29, 2022.

        7.      The relief sought by Petitioner herein is precluded by their extraordinary and

 indefensible delay in seeking injunctive under Section 10(j) of the Act.

        8.      The relief sought by Petitioner herein is precluded by their unclean hands and

 laches, as reflected in their improper, extraordinary and indefensible delay in seeking injunctive

 under Section 10(j) of the Act.

        WHEREFORE, Respondent respectfully requests that this Honorable Court issue an

 Order denying Petition for Temporary Injunction and, should Petitioner continue to seek

 preliminary injunctive relief, enter an Order that allows Respondent to take discovery to address

 the additional evidence upon which Petitioner relies beyond the NLRB Administrative Record.

  Dated: March 21, 2022                            Respectfully submitted,

                                                   By: /s/ Douglas T. Schwarz
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                                                   7
Case 1:22-cv-01479-DG-SJB Document 16 Filed 03/21/22 Page 8 of 9 PageID #: 5523




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                                       8
Case 1:22-cv-01479-DG-SJB Document 16 Filed 03/21/22 Page 9 of 9 PageID #: 5524




                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 21 day of March, 2022, a true and correct copy of the

 foregoing ANSWER AND DEFENSES OF RESPONDENT AMAZON.COM SERVICES LLC

 TO PETITIONER’S PETITION FOR TEMPORARY INJUNCTION UNDER SECTION 10(J)

 OF THE NATIONAL LABOR RELATIONS ACT was served via the Court’s ECF filing system

 upon all counsel of record.



                                                  /s/ Douglas T. Schwarz
                                                  Douglas T. Schwarz




                                              9
